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AO 91 (Rev.   11/11)    Criminal   Complaint



                                               UNITED STATES DISTRICT COURT                                                     FILED
                                                                             for the                                     September 03, 2024
                                                                                                                         CLERK, U.S. DISTRICT COURT
                                                                  Western   District of Texas                            WESTERN DISTRICT OF TEXAS

                       United States of America
                                                                                                                                        SL
                                                                                                                      BY: ________________________________
                                                                                 )
                                                                                                                                              DEPUTY
                                   v.                                            )
                                                                                 )       Case No.                 1:24-mj-559-DH
                                                                                 )
                                                                                 )
                                                                                 )
                       Aubrey Cottle aka: Kirtaner                               )
                                   Defendant(s)


                                                          CRIMINAL COMPLAINT
          I, the complainant             in this case, state that the following is true to the best of my knowledge            and belief.
On or about the date(s) of                September      2021                          in the county of      Travis                            in the
Western                     District of        Texas                        , the defendant(s)   violated:
                                               -----------------

              Code Section                                                                 Offense Description

18 U.S.C. § l028(7)(A)(C)                              Identity     Theft




          This criminal complaint is based on these facts:

See attached       Affidavit.




          [j] Continued            on the attached sheet.




                                                                                                                 , FBI Special Agent
                                                                                                              Printed name and title
o Sworn to before me and signed in my presence.
~   Sworn to telephonically               and signed electronically.



Date:         09/03/2024
                                                                                                                Judge's signature

City and state:           Austin, Texas                                                     U.S. Magistrate Judge, Dustin Howell
                                                                                                              Printed name and title
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                                                  INTRODUCTION

   I,                       being first duly sworn, hereby state as follows:

            1.      I am employed as a Special Agent (SA) with the Federal Bureau of Investigation
   (FBI), assigned to the FBI's San Antonio Field Office, Austin Resident Agency (ARA). I have
   been an FBI Agent since January 9,2005. During my FBI career I have investigated various
   violations of federal law, including but not limited to Cyber Intrusions and other Cyber related
   criminal activity, National Security matters, Domestic Terrorism crimes, and Weapons of Mass
   Destruction. As a Federal Agent, I am authorized to investigate violations of laws of the United
   States.
        2.      Imake this affidavit in support of an application for an arrest warrant for Aubrey
   COTTLE for Identity Theft, in violation of 18 U.S.c. § 1028(7)(A)(C).
            3.     As detailed below, Aubrey COTTLE committed computer intrusion by gaining
   unauthorized access to EPIK Enterprise Solutions (EPIK) I computer network in order to deface
   and download a backup of the Republican Party of Texas also known as the Texas GOp2 web
   server containing personal identifying information. The information was distributed and made
   available for download on a Torrent. COTTLE claimed responsibility for the attack on multiple
   social media platforms.

           4.       This Affidavit is based on my participation in the investigation, the participation
   of other law enforcement officers, my review of documents and digital data obtained or seized
   during the course of the investigation, and my training and experience. This affidavit is intended
   to show merely that there is sufficient probable cause for the requested arrest warrant. It does
   not set forth all of my knowledge about this matter. All statements are set forth in sum and
   substance and relevant part.

                                             STATUTES         VIOLATED

            5.     Title 18, United States Code, Section 1028(7) provides, in relevant part, that
   "[w]hoever knowingly transfers, possesses, or uses, without lawful authority, a means of
   identification of another person with the intent to commit, or to aid or abet, or in connection
   with, any unlawful activity that constitutes a violation of Federal law, or that constitutes a felony
   under any applicable State of local law."

            6.      In Title 18, United States Code, Section 1028(7), the tern1 "means of
   identification" means any name or number that may be used, alone or in conjunction with any
   other information, to identify a specific individual, including any (A) name, social security
   number, date of birth, official State or government issued driver's license or identification
   number, employer or taxpayer identification number; (B) unique biometric data, such as
   fingerprint, voice print, retina or iris image, or other unique physical representation; (C) unique
   electronic identification number or address, or routing code; (D) telecommunications      identifying
   or access device (as defined in section 1029(e)).



   1EPIK Enterprise Solutions (EPIK) founded in 2009, is an American domain registrar and web hosting company.
   2The Republican Party of Texas also known as the Texas GOP is a political organization based in the Western
   District of Texas. The Texas GOP is the affiliate of the United States Republican party in the state of Texas. The
   organization functions to reach new voters who share the same conservative values to elect new officials.
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            7.     Cottle's violation of Title 18, United States Code, Section 1028(7) was done in
    connection with multiple felony violations of the Texas Penal Code, including:

   "Section 33.02
           (b-l) A person commits an offense if, with the intent to defraud or harm another or alter,
           damage, or delete property, the person knowingly accesses:
                (1) a computer, computer network, or computer system without the effective consent
                    of the owner;

            (b-2) An offense under Subsection (b-l) is:
                (6) a felony of the second degree if:
                (C) the actor obtains the identifying information of another by accessing only one
                computer, computer network, or computer system."

   According to Texas Code of Criminal Procedure (specifically, TX Code Crim Pro art 13A.263
   (2023)), violations of Section 33 may be prosecuted in any Texas county "in which an individual
   who is a victim of the offense resides."

                                                       SUMMARY

           8.     Based on the facts set forth below, there is probable cause to believe that Aubrey
   COTTLE knowingly and intentionally gained unauthorized access to deface and downloaded a
   backup copy of the Texas GOP web server containing personal identifying information (PII).
   The information was then made available for download and distribution on a Torrent3. COTTLE
   claimed responsibility for the attack on multiple social media platforms.

                                              STATEMENT OF FACTS

            9.     On September 11, 2021, the Texas GOP website (texasgop.org) was defaced by
   hackers claiming to be a group known as "Anonymous.,,4 The banner of the website was
   replaced with cartoon characters, a pornographic image, and a music video. The defacement was
   the result of an intrusion into the hosting provider EPIK. In addition to the defacement, the actors
   accessed and downloaded a Texas GOP Apache web-server that contained personal identifying
   information. The inforn1ation was made available for download on a Torrent.




   3 "Torrent" is a method of distributing files over the internet. Torrents operate over the BitTorrent protocol to

   facilitate what is called peer-to-peer (P2P) file-sharing.
   4




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                                                    Figure I: Defaced Texas GOP website

               10.     Following the attack, CNN published a news article titled, "Epik is a refuge for
       the deplatformed far right Here's why its CEO insists on doing it."s In the article, EPIK CEO
                      alleged COTTLE was responsible for the breach.

            II.     Public open source information identified COTTLE claiming responsibility for
   the hack, including a screen capture of a Discord post by user "Kirtaner #0420" aka COTTLE. In
   the screen capture, COTTLE wrote, "OH I GAVE THE CHILDREN THE SQLI EXPLOIT
   VULN GAB CODE ALREADY." Followed by, "when it hits you'll never see it attributed to me
   but... epik hosting's fucked." Legal process later served to Discord confirmed these screen
   captures as COTTLE's posts to Discord on "420chan," an anonymous image-board founded by
   COTTLE in April 2005.




                                     Figure 2: Screen captures of a Discord post by user "Kirtaner #0420
           12.   In September 2021, Anonymous released a press release announcement about the
   EPIK hack. In the press release a torrent file was linked containing over 180 gigabytes of stolen
   data (
   According to                       a single source IP address was identified that downloaded


   5   https://www.cnn.com/2021/12/09/business/epik-hack-ceo-rob-monster-invs/index.htm          1
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       100% of the EPIK data when the file went live. A B itTorrent user utilizing IP address
                   73 downloaded the compromised Texas GOP data on Tue, Sep 14,2021, at 2:32 PM
       COT. An open-source check of the IP address                73 using WHOIS data identified the
       internet service provider as Bell Canada (residential). The FBI provided the IP address to OPP,
       who confirmed the IP address was assigned to COTTLE,
                 Ontario, and email addressacottle@tai

       Uetalls riles     Iracl<ers I"'t:t:r~,   Pieces   tlandwldth   tvent Log Uptlons       lomments
                                                                                                                                  v
       Address                                                             Link        Flag        Bytes In    Bytes Out   Progress
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                                                                         • U a,        ~
                                                 Figure 2: EPIK screen capture of Bit Torrent download screen.


             13.   I believe, based on my training and experience, as well as conversation with other
   law enforcement, that a person's IP address is visible to everyone when downloading or
   uploading a torrent. It is common for the person responsible for uploading and sharing
   information via BitTorrent to have their initial IP address displayed as completing the upload or
   download of a torrent. Therefore, I believe this BitTorrent information is evidence that COTTLE
   distributed the stolen Texas GOP data via BitTorrent.

                 14.      On COTTLE's              page,
                                COTTLE listed his location as                                            Ontario, which is right next
   to                  Ontario.

                 15.Through open-source research, law enforcement discovered a post on
                             which detailed information associated with COTTLE to include domain
   registration information for an address in          Ontario, Gmail account
   (Kirtaner@g              and phone number (




   6                                   is a company and entertainment website that hosts user-generated content.
                                                                     4
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           16.     FBI agents located a TikTok user known as "kirtaner," which was a public facing
   account containing videos that appear to be COTTLE. In one video, an individual believed by
   the FBI to be COTTLE based on his appearance and screen name, claimed ownership for the
   hack against EPIK.




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                                  Figure 4: Screen captures of a "Kirtaner" TikTok video


           17.    In response to legal process, investigators received Discord Inc. infom1ation on
   accounts belonging to COTTLE (Kirtaner#0420). Messages directly related to the EPIK
   computer intrusion and the Texas GOP were discovered. The context in which the messages
   were shared suggested COTTLE was "bragging" about the Texas GOP intrusion and took
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   ownership for the attack. On January 18, 2022, COTTLE posted the following messages on
   Discord:

                         a. 2022-01-1805:38:21.941000+00:00 Kirtaner#0420:
                            i also did this to the texas GOP on 9/11.

                         b.                       XXX-XX-XXXX:40:17.861000+00:00
                              Kirtaner#0420: to the fbi agents reading my discord logs: eat my
                              ass i helped your sedition charges least you could do is pay for my
                              therapy.                  '

                         c.
                              2021-09-26 16:02:54.981000+00:00 Kirtaner#0420: The hack
                              comprised more than 180 gigabytes of data from Epik, which is
                              known for providing services to websites that host far-right, neo-
                              Nazi, and other extremist content. The hack was described as "a
                              Rosetta Stone to the far-right" because it has allowed researchers
                              and journalists to discover links between far-right websites,
                              groups, and individuals. Distributed Denial of Secrets
                              (DDoSecrets) co-founder Emma Best said researchers had been
                              describing the breach as "the Panama Papers of hate groups".

                         d.
                              2021-09-26 16:03:19.686000+00:00 Kirtaner#0420: Aubrey Kirtaner
                              Cottle, a security researcher and co-founder of Anonymous,
                              declined to share information about the hacks origins but said it
                              was fueled by hackers frustrations over Epik serving as a refuge
                              for far-right extremists.

           18.     The Ontario Provincial Police (OPP), Canada served a judicially authorized
   search warrant on COTTLE's residence located at
             Ontario, Canada. Approximately 20 terabytes data was seized. The following are a
   selection of examples of data found on a computer owned by COTTLE and found at his
   residence:

                         a. Sender acottle@t
                            Recipient
                            Message Sent Date/Time - UTC+OO:OO2/26/2021 3:17:14 AM
                            Message: I have root on Epik Networks. I have access to all of their
                            customer VMs, their domains, their customer data. I can hijack
                            Gab's domain. I am dumping 900GB of client VMs at this very
                            moment. Delete this message after reading.




                        b. Sender acottle@
                                                  6
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                        Recipient
                        Message Sent Date/Time - UTC+OO:OO 9/9/2021 10:30:02 AM
                        Message oops i control the texas GOP
                        Read Status Read




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       Stolen GOP data located on COTTLE's computer
               19.    Canadian law enforcement also seized a one terabyte Western Digital Solid State
       Drive at COTTLE's residence in Canada. A review of the drive revealed a file folder titled
       "EpikFaiIYouLostTheGame"     located within a file folder titled "Dumps."

                20.     Within the folder "EpikFaiIYouLostTheGame"             contained the following file
       names:           z 7,        xz,        xz,         ar8,                 ar.gz9,           z,
                 ql.gz'O, and                 l.gz.

              21.      The file folder labeled "       ar.gz" contained a subfolder labeled
       "        ar", which contained additional subfolders. Based on my review of the subfolders,
       there were file folders labeled by two-digit numbers and four-digit years. With the subfolders
       were various legislative documents. For example, one document titled "
                                                                                        contained full
       names, county seat locations, email addresses, and phone numbers of individuals.

                22.   Additionally, the "          ar" contained the following documents:
                              a. Applicant Resumes containing name, mailing address, contact number
                                  and email address.
                              b. Ballot Application Checklist for District Attorney and State
                                  Representatives.
                              c.
                                                          pdf (General Rules for All Conventions and
                                  Meetings).
                              d. Special Session Call Item: Strengthening Patient Protections Relating
                                  to Do-Not Resuscitate Orders.
                              e. Republican candidate endorsement letter
                              f.

                              g.                                             oc (contains PII: date of
                                 birth).
                              h. County Court at Law, County Criminal Court, County Probate Court
                                 Ballot Application Checklist _ 2020 Primary Candidate Application
                                 Review.
                              1. Emails routed through "          pik.com to various @texasgop.org.
                                 emails.




                              J.   Emails from info@texasgop.org to infor@texasgop.org,     where new
                                   users entered their email address to sign up for Texas GOP updates
                                   (user email address shown in email field).



   7 The "XZ" compression is a high-ratio data compression tool that is used to compress files in Linux environment.
   s 'TAR" short for Tape Archive, a TAR file is used to store multiple files in one to send over the internet or for
   archiving purposes; a group of files, packaged as one file.
   9 The "TAR.GZ" file extension is created when compressing archived TAR files with the GNU zip utility.

   10 A file ending in ".sql.gz" is a compressed version of a MySQL database file; a compressed archive.

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            23.    Based on my review of the digital evidence received from the OPP, COTTLE had
    a copy of the stolen EPIK data on digital devices in his possession and bragged about acquiring it
    before the public distribution via B itTorrent.


                                            CONCLUSION

            24.    COTTLE gained unauthorized access to the computer servers operated by EPIK
    and leased by the Texas GOP and without authorization downloaded Texas GOP data that was
    stored on EPIK servers and defaced the Texas GOP website in violation of the above-referenced
    Texas state felony statute. Dozens of the email addresses and resumes containing PII within the
    stolen Texas GOP data were received from individuals located within the Western District of
    Texas, and the Texas GOP, were located in the Western District of Texas.

          25.      Based on the foregoing, I submit there is probable cause to believe Aubrey
    COTTLE committed violations of federal law within the Western District ofTexas and
    elsewhere. A ccordingly, I request the issuance of a warrant for his arrest.


                                                                E       ic




                                                                FBI Special Agent



           Subscribed and sworn to me via telephone pursuant to Federal Rule of Criminal

    Procedure 4.1 on -------------
                      September 3 , 2024.




                                                 HONORABLE DUSTIN HOWELL
                                                 UNITED STATES MAGISTRATE JUDGE
                                                 WESTERN DISTRICT OF TEXAS




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AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District of Texas

                  United States of America
                             v.                                      )
                                                                     )        Case No.     1:24-mj-559-DH
                                                                     )
                                                                     )
                                                                     )
Aubrey Cottle aka: Kirtaner                                          )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Aubrey Cottle                                                                                          ,
who is accused of an offense or violation based on the following document filed with the court:

    Indictment                Superseding Indictment           Information          Superseding Information                Complaint
    Probation Violation Petition               Supervised Release Violation Petition          Violation Notice             Order of the Court

This offense is briefly described as follows:
18 U.S.C. § 1028(7)(A)(C), Identity Theft




Date:      09/03/2024
                                                                                            Issuing officer’s signature


City and state:      Austin, Texas                                           U.S. Magistrate Judge, Dustin Howell
                                                                                              Printed name and title


                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title
